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 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                               FOR THE DISTRICT OF ARIZONA
 9
10   United States of America,                            CR-15-707-PHX-SRB (MHB)
11                          Plaintiff,                NOTICE OF INTENT TO INTRODUCE
              v.                                        EXPERT WITNESS TESTIMONY
12
13
     Abdul Malik Abdul Kareem,
14
                            Defendant.
15
16
17          The United States of America, by and through counsel undersigned, hereby
18   provides notice that it may introduce certain evidence pursuant to Rule 702 of the Federal
19   Rules of Evidence at the trial of this matter. Pursuant to Rule 16(a)(1)(G) of the Federal
20   Rules of Criminal Procedure, the United States gives notice of its intent to use expert
21   witness testimony under Rules 702, 703, or 705 of the Federal Rules of Evidence during

22   its case-in-chief and/or in rebuttal at trial.

23      1. Kelli Edmiston & Icel Cavis Physical Scientist/Forensic Examiners, FBI
           Laboratory, Quantico, Virginia
24
25          The United States intends to introduce factual and expert testimony from Kelli

26   Edmiston and Icel Cavis, FBI Physical Scientist/Forensic Examiners. Ms. Edminton and
     Mr. Cavis will testify about finger print analysis conducted on weapons, and other
27
     evidence involved in this case. Thier testimony will be focused on the viability and
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 1   number of fingerprint samples taken from the weapons and the physical evidence. They

 2   will also testify whether any valid exemplars could be taken from the evidence for

 3   comparison against known fingerprint exemplars, including those taken from Kareem,

 4   co-conspirators and others. Edminton and Cavis will further testify about the types of

 5   conditions and variables that can affect the ability to obtain a fingerprint from every
     individual who has touched a firearm.
 6
           Edminton and Cavis’s testimony will be consistent with their reports and based on
 7
     their training and experience as analysts for the Federal Bureau of Investigation
 8
     Laboratory, Quantico, Virginia. Ms. Edminston or Mr. Cavis may respond to and/or
 9
     rebut the opinions of any experts disclosed by the defense. The CVs’ will be disclosed
10
     under separate cover.
11
        2. Mark Sedwick, Special Agent
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           The United States intends to introduce factual and expert testimony from Mark
13
     Sedwick, FBI Special Agent, regarding cell phone cell site location information and
14
     mapping of that information. SA Sedwick will explain how cell phones use cell towers,
15
     generally, and how information provided by the cell phone company specifically shows
16
     the locations of Kareem’s cell phone and co-conspirators’ cell phones while in use at
17
     pertinent times prior to the attempted mass murder on May 3, 2015.
18
           The cell phone data and initial mapping report/analysis have been previously
19
     provided to the defense counsel with the discovery materials. The CV has been disclosed
20
     under separate cover.
21
        3. Robert Meshinsky, Special Agent
22          The United States intends to introduce factual and expert testimony from Robert
23   Meshinsky, FBI Special Agent, regarding the downloading of cell phone information
24   from cell phones seized from Kareem and others, from computers and from various
25   digital media, including but not limited to hard drives, CDs, DVDs, flash drives, and GPS
26   devices. SA Meshinsky conducted the forensic analysis on the computers, digital storage
27   media, and cell phone evidence obtained in this case and will explain how he was able to
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 1   obtain information, files and other stored data from the cell phones and/or ASIM@ cards

 2   associated with cell phones, as well as other digital storage media.

 3            Special Agent Meshinsky is expected to testify consistent with the reports he has
 4   issued and will be issuing, as well as his interpretations of the relevant computer
 5   evidence, including but not limited to the following:
 6                  (a)    The location, type, descriptions of relevant data found on the digital
 7                         media and cell phones;
 8                  (b)    The process by which he forensically previews electronic devices,
 9                         media storage devices, computer hard drives, and cell phones;
10                  (c)    The process by which he makes a duplicate copy of the media
11                         storage devices to insure that no changes were made to the originals;
12                  (d)    The process by which he completes his forensic analysis; and
13                  (e)    The process whereby users can delete or remove items from
14                         electronic media.
15            All of Special Agent Meshinsky’s opinions and conclusions will be consistent
16   with these reports and based on his training and experience as a Criminal Investigator and
17   Digital Extraction Technician for the Federal Bureau of Investigation.
18            The downloaded cell phone data and digital media have been previously disclosed
19   to the defense counsel with the discovery materials. Any additional reports drafted in this
20   case will be promptly disclosed to defense. The CV will be disclosed under separate
21   cover.
22      4. Jeff Evans, FBI Information Technology Specialist
23            The United States intends to introduce factual and expert testimony from Jeff
24   Evans, FBI Information Technology Agent, regarding the downloading of cell phone
25   information from cell phones seized from Kareem and others, from computers and from
26   various digital media, including but not limited to hard drives, CDs, DVDs, flash drives,
27   and GPS devices. Agent Evans will explain how he was able to obtain information, files
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 1   and other stored data from the cell phones and/or ASIM@ cards associated with a cell
 2   phone, as well as all digital media.
 3            The downloaded cell phone data and digital media have been previously disclosed
 4   to the defense counsel with the discovery materials. Any additional reports drafted in this
 5   case will be promptly disclosed to defense. The CV will be disclosed under separate
 6   cover.
 7      5. Tarah Brown, FBI Forensic Examiner
 8            The United States intends to introduce factual and expert testimony from Tarah
 9   Brown, FBI Forensic Examiner.          Examiner Brown is one of the criminalists who
10   performed some of the laboratory testing on the evidence in this case. Ms. Brown
11   conducted testing and serology testing (for the presence of blood and DNA) on evidence
12   in this case.    Ms. Brown is expected to testify regarding the items received, her
13   observations of those items, the testing used, the reliability of such testing, and the results
14   of those tests. These findings are all contained in her reports, which have been disclosed
15   to the defense, and as such, will not be repeated herein.
16            Ms. Brown’s may respond to and/or rebut the opinions of any experts disclosed by
17   the defense. If Ms. Brown is unavailable, another criminalist from her office will testify
18   in her place and the government will promptly notify defense of the substitution. The CV
19   will be disclosed under separate cover.
20
        6. Candie Shegogue, FBI Physical Scientist / Forensic Examiner, Trace
21         Evidence Unit
22            The United States intends to introduce factual and expert testimony from Candie
23   Shegogue, FBI Forensic Examiner. Examiner Shegogue is one of the criminalists who
24   performed some of the laboratory testing on the evidence in this case. Ms. Shegogue
25   conducted a microscopic examination of hairs accomplished through stereomicroscopy
26   and comparison microscopy testing.        In addition to the hairs, Ms. Shegogue conducted
27   microscopic examination of fibers accomplished through the examination of one or more
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 1   analytic techniques including stereomicroscopy, comparison microscopy, polarized light
 2   microscopy, florescent microscopy, and instrumentally using microspectrophotometry
 3   and Fourier transform / inferred spectroscopy. Ms. Shegogue is expected to testify
 4   regarding the items received, her observations of those items, the testing used, the
 5   reliability of such testing, and the results of those tests. These findings are all contained
 6   in her reports, which will be disclosed upon receipt by undersigned counsel.
 7          Ms. Shegogue may respond to and/or rebut the opinions of any experts disclosed
 8   by the defense. The CV will be disclosed under separate cover.
 9      7. Antoine Frazier, Forensic Document Examiner
10          The United States intends to introduce factual and expert testimony from Antoine
11   Frazier, FBI Forensic Document Examiner.          Examiner Frazier from the Questioned
12   Document Unit with the FBI Forensic Document Unit in the FBI Laboratory Division
13
     will testify regarding examination and comparison of a handwriting exemplar compared
14
     to handwriting contained within specific notebooks, pieces of paper, and other
15
     handwritten evidence involved in this case. Forensic Document Examiner Frazier will
16
     testify regarding the process of comparison and the results he tendered in this case.
17
     Forensic Document Examiner Frazier’s CV will be provided to defense counsel.
18
19      8. Jarett J. MacMaster, Special Agent, Bureau of Alcohol, Tobacco, Firearms
           and Explosives
20
            The United States intends to introduce factual and expert testimony from Special
21
     Agent Jarett MacMaster, United States Bureau of Alcohol, Tobacco, Firearms and
22
     Explosives. Agent MacMaster will testify to the information contained in his reports.
23
     Agent MacMaster will testify about analysis and examination of weapons seized in this
24
     case, specifically: Taurus model 85 Ultralite .38 caliber revolver and a Tanfoglio model
25
     Witness 9mm pistol. Agent MacMaster will testify about his physical examination of
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     these firearms, as well as those recovered at the shooting scene in Garland, Texas, and
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     about their properties, including the manufacturer, model, caliber, and serial numbers.
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 1   Agent MacMaster will testify about the location of manufacture of the Taurus and
 2   Tanfoglio firearms and that these weapons had to have been shipped in interstate
 3   commerce to be found in Arizona. The Agent’s testimony and opinions will be based
 4   upon his training, experience, ATF’s list of firearm manufacturer’s locations and personal
 5   knowledge of the Manufactures of these weapons. The Agent’s reports and CV has been
 6   disclosed to the defense.
 7
 8      9. Willliam Braniff, Executive Director, National Consortium for the Study of
 9         Terrorism and Responses to Terrorism

10          The United States intends to introduce expert testimony from William Braniff. Mr
11   Braniff will provide background information on organizations within the global jihadist
12   movement, to include the relationship between ISIL, ISIS, the al-Qa’ida organization and
13   al-Qa-ida in the Arabian Peninsula (AQAP).        Mr. Braniff will explain some of the
14   processes by which individuals in foreign countries with seemingly little connection to
15   jihadist fronts in place like Syria or Afghanistan became mobilized. Mr. Braniff will
16   discuss the role of Anwar al-Awlaki, an American citizen who became the leading
17   English language ideologue for the global jihadist movement. Mr. Braniff will also
18   discuss the role of other ideologues for the global jihadist movements. Mr. Braniff will
19   testify about the specific vocabulary used by persons associated with global jihadist

20   movements to describe themselves, the world, and the community of people around

21   them. Mr. Braniff will testify that within the global jihadist movement, “jihad” refers

22   primarily to violent jihad. The CV will be disclosed under separate cover.

23      10. J.M. Berger, Nonresident Fellow, Project on U.S. Relations With the Islamic
            World, Brookings Institution Center for Middle East Policy
24
            The United States intends to introduce expert testimony from J.M. Berger. Mr.
25
     Berger will testify about the history of American involvement in jihadist movements, the
26
     tactics of Islamic extremists on social media, and the evolution of the Islamic State, aka
27
     ISIL, aka ISIS.    Mr. Berger further will testify about specific propaganda releases
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 1   circulated by ISIL, individual ISIL propagandists, the use of “nasheeds” by Islamist

 2   extremists, and links between Jamaican Sheik Abdullah Faisal and ISIL. The CV will be

 3   disclosed under separate cover.

 4
        11. R o d n e y J i g g e t t s , F B I F i r e a r m s E x a m i n e r , T o o l m a r k s U n i t ,
 5          FBI Laboratory Division
 6
            The United States intends to introduce factual and expert testimony from Rodney
 7
     Jiggetts, Firearms / Toolmarks Unit, FBI Laboratory Division. Jiggetts will testify that
 8
     casings found at a scene in Arizona where Kareem and others were witnessed shooting
 9   matched casings that were found at the shooting scene in Garland, Texas, on May 3,
10   2015. The government will provide reports to the defense upon receipt by undersigned
11   counsel.
12
13      12. Arabic Language Expert
14          The United States intends to introduce factual and expert testimony regarding
15   Arabic language terminology used by Simpson and other co-conspirators in this case.
16       Respectfully submitted this 19th day of October, 2015.
17
                                                            JOHN S. LEONARDO
18                                                          United States Attorney
                                                            District of Arizona
19
                                                            s/ Kristen Brook___________________
20                                                          KRISTEN BROOK
                                                            JOSEPH E. KOEHLER
21                                                          Assistant U.S. Attorneys
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 1                              CERTIFICATE OF SERVICE
 2         I hereby certify that on the 19th day of October, 2015, I electronically filed the
 3   foregoing with the Clerk of Court using the CM/ECF system, and that true and accurate
 4   copies have been transmitted electronically to counsel for the defendant via the ECF
 5   system.
 6   Daniel Maynard, Attorney for Defendant
 7
 8                                           By: /s Joseph E. Koehler
                                                 Joseph E. Koehler
 9                                               Assistant U.S. Attorney

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